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                                                              January 29, 2021
                                                            CLERK, U.S. DISTRICT COURT
                                                            WESTERN DISTRICT OF TEXAS

                                                                Breanna Coldewey
                                                         BY: ________________________________
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